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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


DONALD J. TRUMP; THE TRUMP
ORGANIZATION, INC.; TRUMP
ORGANIZATION LLC; THE TRUMP
CORPORATION; DJT HOLDINGS LLC;
THE DONALD J. TRUMP REVOCABLE
TRUST; and TRUMP OLD POST OFFICE
LLC,

                              Plaintiffs,
                                                           Case No. 1:19-cv-01136-APM
       v.

ELIJAH E. CUMMINGS, in his official
capacity as Chairman of the House Committee
on Oversight and Reform; PETER KENNY, in
his official capacity as Chief Investigative
Counsel of the House Committee on Oversight
and Reform; and MAZARS USA LLP,

                              Defendants.


  CONSENT MOTION OF THE COMMITTEE ON OVERSIGHT AND REFORM OF
 THE U.S. HOUSE OF REPRESENTATIVES TO INTERVENE AND MEMORANDUM
            OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

       The Committee on Oversight and Reform of the U.S. House of Representatives 1

respectfully moves the Court for leave to intervene in this case pursuant to Rule 24 of the Federal

Rules of Civil Procedure and Local Civil Rule 7(j). The Committee seeks intervention as of

       1
          The Bipartisan Legal Advisory Group (BLAG) of the United States House of
Representatives has authorized the Committee’s intervention in this matter. The BLAG
comprises the Honorable Nancy Pelosi, Speaker of the House, the Honorable Steny H. Hoyer,
Majority Leader, the Honorable James Clyburn, Majority Whip, the Honorable Kevin McCarthy,
Republican Leader, and the Honorable Steve Scalise, Republican Whip, and “speaks for, and
articulates the institutional position of, the House in all litigation matters.” Rules of the U.S.
House of Representatives (116th Cong.), Rule II.8(b), available at
https://tinyurl.com/HouseRules116thCong. The Republican Leader and Republican Whip
decline to join in this motion.


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right pursuant to Rule 24(a)(2), or in the alternative, permissive intervention under Rule

24(b)(1)(B). All parties consent to the relief sought by this motion to intervene. The Committee

and plaintiffs’ counsel have further agreed that if the Court grants the motion to intervene,

plaintiffs will voluntarily dismiss Defendants the Honorable Elijah E. Cummings and Mr. Peter

Kenny.

         If intervention is granted, the Committee will file an opposition to plaintiffs’ motion for

preliminary injunction and otherwise participate fully in this action on the schedule already set

by the Court. A proposed order is attached as Exhibit A.

                                         INTRODUCTION

         Plaintiffs filed this suit to challenge a subpoena issued to defendant Mazars USA LLP by

the Committee seeking documents relating to a Committee investigation. In addition to Mazars,

plaintiffs originally named as defendants Elijah E. Cummings, in his official capacity as

Chairman of the Committee, and Peter Kenny, in his official capacity as Chief Investigative

Counsel of the Committee. Plaintiffs have agreed, however, to voluntarily dismiss Chairman

Cummings and Mr. Kenny once this motion is granted. On the facts presented here, the

Committee is a proper party and it therefore seeks to intervene in the suit to defend its significant

interest in the validity and enforcement of its subpoena to Mazars.

         The Committee has a significant interest in ensuring compliance with its subpoenas.

Given that plaintiffs’ complaint squarely challenges the validity of the Committee’s subpoena to

Mazars and seeks to prevent Mazars from producing any documents in response, only the

Committee can adequately represent its own interests in this action. And the Committee has

acted expeditiously to intervene here: The Committee notified the Court of its intent to intervene

in this action—with the parties’ consent—the day after plaintiffs filed their Complaint.



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                                        BACKGROUND

       The Committee has broad legislative, investigative, and oversight authority. See Rules of

the U.S. House of Representatives (116th Cong.), Rule X. Pursuant to this authority, the

Committee is conducting investigations and oversight of government ethics throughout the

Executive Branch, potential conflicts of interest related to senior Executive Branch officials,

potential constitutional violations, and President Trump’s continued financial interest in the

Trump International Hotel, in Washington, D.C. under a federal lease administered by the

General Services Administration, any financial disclosures used to obtain that lease, and the

General Services Administration’s ongoing management of that lease. As the principal

investigative Committee for the House, the Committee’s investigations inform not only its own

legislative function, but also the legislative function of other House Committees.

       The Committee’s investigations have sought to elicit information that would inform the

Committee, as well as the House, about the need for new laws or amendments to existing laws.

For example, one omnibus ethics bill, H.R. 1, is “a historic reform package to restore the promise

of our nation’s democracy, end the culture of corruption in Washington, and reduce the role of

money in politics to return the power back to the American people.” 2 If enacted, H.R. 1, would,

among other reforms, amend financial disclosure obligations and impose requirements to limit

Presidential financial conflicts of interest. See H.R. 1, 116th Cong., tit. VIII (2019). H.R. 1

passed the House on March 8, 2019, see 165 Cong. Rec. H2601-02 (daily ed. Mar. 8, 2019), and



       2
          Press Release, Nancy Pelosi, Speaker of the U.S. House of Representatives, Pelosi
Remarks at Press Event on Introduction of H.R. 1, For The People Act (Jan. 4, 2019),
https://tinyurl.com/HR1Remarks. The bill was referred to the Committee on Oversight and
Reform (among others) on January 3, 2019, and discharged from the Committee on March 4.
See Committees: H.R. 1—116th Congress (2019-2020), Congress.gov,
https://tinyurl.com/HR1Committees.


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remains pending before the Congress. H.R. 1 is one of multiple bills relating to Executive

Branch conflicts of interests and senior official financial disclosures. 3

       In addition to the issuance of the subpoena to Mazars, the Committee has held numerous

hearings and requested documents from multiple sources to further its ongoing investigations.

At one such hearing, 4 the President’s former attorney Michael Cohen testified that portions of

financial statements he provided, which were allegedly prepared by Mazars, may have included

false statements about President Trump’s assets and liabilities.5 To further its investigations, the

Committee followed up by letter to Mazars on March 20, 2019, seeking information on how

certain financial statements and other financial disclosures were prepared. 6 Mazars informed the

Committee that it could not voluntarily provide the requested documents without a

Congressional subpoena. 7 After discussions between the Committee and Mazars, the Committee




       3
         See, e.g., H.R. 745, 116th Cong. (2019) (to strengthen Office of Government Ethics’s
investigative and enforcement authority); H.R. 391, 116th Cong. (2019) (to require public
reporting of ethics waivers obtained by Executive Branch appointees).
       4
         Michael Cohen, Former Attorney to President Donald Trump: Hearing Before the H.
Comm. on Oversight & Reform, 116th Cong. (2019) (video, prepared testimony, and exhibits
available at https://tinyurl.com/CohenOversightHearing).
       5
        See Testimony of Michael D. Cohen, House Comm. on Oversight & Reform 11 (Feb.
27, 2019) (Testimony of Michael D. Cohen), https://tinyurl.com/Feb27CohenTestimony; see also
Kenneth P. Vogel, Cohen Testimony Raises Questions About Trump’s Financial Disclosure,
N.Y. Times (Feb. 27, 2019), https://tinyurl.com/NYTCohenTestimony.
       6
         Letter from the Honorable Elijah E. Cummings, Chairman, House Comm. on Oversight
& Reform, to Victor Wahba, Chairman & Chief Executive Officer, Mazars USA LLP (Mar. 20,
2019), https://tinyurl.com/Mar20CummingsLetter.
       7
         Letter from Victor Wahba, Chairman & Chief Executive Officer, Mazars USA LLP, to
the Honorable Elijah E. Cummings, Chairman, House Comm. on Oversight & Reform (Mar. 27,
2019), https://tinyurl.com/Mar27MazarsLetter.


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issued a subpoena to Mazars on April 15, 2019, seeking financial statements, supporting

documents, and related communications. 8

       On April 22, 2019, five days before the subpoena return date, counsel for plaintiffs

notified the Committee that they had filed the instant action challenging the subpoena to Mazars.

After being contacted by the Court, counsel for all parties reached agreement on a briefing

schedule, which the Court entered. Under that schedule, briefing on plaintiffs’ motion for

preliminary injunction will conclude by May 8, 2019, with oral argument set for May 14, 2019.

See Docket, Minute Order (Apr. 23, 2019).

                                           ARGUMENT

       This Court should grant the Committee’s motion to intervene as of right because the

Committee has a significant interest in ensuring enforcement of its subpoena and, as all agree, it

is the proper party to defend the validity of its subpoena against plaintiffs’ allegations here. In

particular, the Committee has a significant interest in obtaining Mazars’s response to the

Committee’s valid legislative subpoena, as well as an institutional interest in the legal questions

presented in this suit. The Committee also has an interest in preserving its rights to seek further

review in the event of an adverse decision. The Committee thus satisfies the standard for

mandatory intervention under Rule 24(a): It has a substantial interest in compliance and

enforcement of its subpoenas; it would be severely prejudiced if it were not permitted to

participate in this action to protect its interests, which are not adequately represented by any of

the parties; and it promptly sought intervention. On similar facts, courts have allowed House

Committees to intervene to protect interests in ensuring compliance with subpoenas issued to


       8
        Subpoena from House Comm. on Oversight & Reform to Mazars USA LLP (Apr. 15,
2019) (Pl. Ex. A to Application for TRO (Apr. 22, 2019) (ECF No. 9-1)).


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third parties. See Bean LLC v. John Doe Bank, 291 F. Supp. 3d 34, 39 (D.D.C. 2018) (noting

that the court had granted the House Committee’s motion to intervene in a suit brought by bank’s

client challenging subpoena issued to a bank for client’s financial records). As discussed below,

the Committee has Article III standing to intervene in this case. Finally, in the alternative, this

Court should permit the Committee to intervene under Rule 24(b).

I.     The Committee Satisfies the Mandatory Intervention Requirements

       A party seeking to intervene as of right must satisfy four requirements under Rule

24(a)(2): (1) the application to intervene must be “timely”; (2) the party must have “an interest

relating to the property or transaction that is the subject of the action”; (3) the party must be “so

situated that the disposing of the action may as a practical matter impair or impede the movant’s

ability to protect its interest”; and (4) the party’s interest must not be “adequately represent[ed]”

by “existing parties” to the action. Fed. R. Civ. P. 24(a), (a)2. A prospective intervenor under

Rule 24(a)(2) must satisfy the same Article III standing requirements as original parties. Fund

for Animals, Inc. v. Norton, 322 F.3d 728, 732-33 (D.C. Cir. 2003). The Committee satisfies

those requirements here.

       “The right of intervention conferred by Rule 24 implements the basic jurisprudential

assumption that the interest of justice is best served when all parties with a real stake in a

controversy are afforded an opportunity to be heard.” Hodgson v. United Mine Workers of Am.,

473 F.2d 118, 130 (D.C. Cir. 1972). To that end, pursuant to Rule 24(a)(2), “[a] district court

must grant a timely motion to intervene that seeks to protect an interest that might be impaired

by the action and that is not adequately represented by the parties.” Roane v. Leonhart, 741 F.3d

147, 151 (D.C. Cir. 2014); Fed. R. Civ. P. 24(a)(2).




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       1. The Committee filed a motion to intervene in this action as expeditiously as possible.

The Committee issued its subpoena on April 15, 2019. Plaintiffs then filed this action on April

22, 2019. The following day, on April 23, 2019, the Committee notified the Court of its intent to

file this motion to intervene, which is being filed four days after the complaint was filed and

before any party has filed responsive pleadings.

       2. The Committee has a substantial, legally protected interest in ensuring a proper

response to the subpoena it issued to Mazars in furtherance of the Committee’s legislative and

oversight authorities. See generally Comm. on Judiciary, U.S. House of Representatives v.

Miers, 558 F. Supp. 2d 53 (D.D.C. 2008). The Committee issued the subpoena as part of an

ongoing investigation consistent with its constitutionally derived power to conduct oversight and

investigations. The response to the subpoena from Mazars will be directed to the Committee to

aid in the carrying out of its legislative duties. The Committee thus has a substantial interest in

defending the validity of its subpoena against plaintiffs’ challenge in this suit. For similar

reasons, Committees of the House have participated in cases challenging their subpoenas. See,

e.g., United States v. Am. Tel. & Tel. Co., 642 F.2d 1285 (D.C. Cir. 1980); Bean LLC, 291 F.

Supp. 3d at 39.

       3. Relatedly, this action threatens to impair the Committee’s legally protected interest

because plaintiffs seek to prevent Mazars from producing any records in response to the

Committee’s subpoena. Indeed, as the primary investigative Committee in the House, the

Committee’s ability to investigate and legislate on matters within its jurisdiction would be

impaired if Mazars were prohibited from (or declined to) provide relevant information when

served with a Committee subpoena.




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        4. Mazars—which is a private firm—does not adequately represent the Committee’s

interests in ensuring compliance with its subpoenas. Mazars has no legal interest in ensuring that

the Committee’s legislative prerogatives are respected. See generally Am. Tel. & Tel. Co., 642

F.2d at 1293 (intervention “ordinarily should be allowed . . . unless it is clear that” an existing

party “provide[s] adequate representation” (quotation marks omitted)). On similar reasoning, the

D.C. Circuit recognized that the House was “the real defendant in interest,” where the Executive

Branch sued AT&T to enjoin it from complying with a Congressional subpoena. United States

v. Am. Tel. & Tel. Co., 551 F.2d 384, 385 (D.C. Cir. 1976). The D.C. Circuit recognized that

“[a]though this suit was brought in the name of the United States against AT&T, AT&T has no

interest in this case, except to determine its legal duty.” Id. at 388-89; see also id. at 385

(explaining AT&T “has no stake in the controversy beyond knowing whether its legal obligation

is to comply with the subpoena or not”). Likewise, here, Mazars has no interest in this case other

than determining its obligation to comply with the Congressional subpoena. The Committee is

thus the real party in interest.

II.     The Committee Has Standing

        The Committee has Article III standing. To establish standing, any “prospective

intervenor . . . must show: (1) injury-in-fact, (2) causation, and (3) redressability.” Fund for

Animals, 322 F.3d at 732-33 (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)).

Courts have routinely held that the House and its Committees have standing to enforce

Congressional subpoenas. See, e.g., Miers, 558 F. Supp. 2d at 69 (“[T]he House has standing to

invoke the federal judicial power to aid in its investigative function.”); Walker v. Cheney, 230 F.

Supp. 2d 51, 68 (D.D.C. 2002) (noting “authority in this Circuit indicating that a House of

Congress or a committee of Congress would have standing to sue to retrieve information to



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which it is entitled”); U.S. House of Representatives v. U.S. Dep’t of Commerce, 11 F. Supp. 2d

76, 86 (D.D.C. 1998) (“[I]t [is] well established that a legislative body suffers a redressable

injury when that body cannot receive information necessary to carry out its constitutional

responsibilities”). For the same reasons, the Committee has standing here. Indeed, plaintiffs do

not contest that the Committee is a proper party to intervene and that it has standing to litigate

these claims.

       A. The Committee Has an Injury in Fact

       To demonstrate injury in fact, an intervenor defendant, like other parties, must show “an

invasion of legally protected interest which is (a) concrete and particularized, and (b) actual or

imminent, not conjectural or hypothetical.” Lujan, 504 U.S. at 560 (citations and quotation

marks omitted). Here, the Committee has a long-established, legally protected interest in

compliance with its subpoenas. Plaintiffs’ attempt to obtain an injunction preventing Mazars

from complying with the subpoena inflicts an “informational injury” on the Committee that is

“sufficiently concrete so as to satisfy the irreducible constitutional minimum of Article III.” U.S.

Dep’t of Commerce, 11 F. Supp. 2d at 85 (quotation marks omitted). If plaintiffs are successful

in their suit, Mazars will be enjoined from producing the specific documents that the Committee

sought in its subpoena. That will directly impair the Committee’s investigation and its pursuit of

its legislative prerogatives. The threatened invasion of the Committee’s legally protected interest

in ensuring compliance with its subpoenas is actual and imminent because an adverse ruling by

this Court would preclude Mazars from complying with the Committee’s subpoena.

       B. The Committee’s Injury Is Fairly Traceable to the Parties’ Actions and
          Redressable by This Court

       The Committee also satisfies the traceability and redressability prongs of standing. See

Lujan, 504 U.S. at 560 (standing requires “a causal connection between the injury and the


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conduct complained of—the injury has to be ‘fairly . . . trace[able] to the challenged action of the

defendant’” (quoting Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26, 41-42 (1976));

Wilderness Soc’y v. Norton, 434 F.3d 584, 590 (D.C. Cir. 2006) (“The redressability inquiry

poses a simple question: ‘[I]f [intervenors] secured the relief they sought, . . . would [it] redress

their injury?”). Here, the Committee’s injury is fairly traceable to the conduct of the parties in

this action. The Committee issued a subpoena to Mazars for specifically identified records, and

through this litigation plaintiffs seek to “challenge the validity and enforceability of [the]

subpoena,” thereby preventing the production of all responsive records. See Compl. ¶ 45 (ECF

No. 1).

          This Court may grant the relief that the Committee seeks: namely, an order confirming

that the subpoena is valid and enforceable. See Senate Permanent Subcomm. v. Ferrer, 199 F.

Supp. 3d 125, 143 (D.D.C. 2016) (“The Court finds that to the extent the Subpoena implicates

Mr. Ferrer’s protected freedoms, it is only in an incidental and minimal fashion. In comparison,

the subpoenaed information is highly relevant to the Subcommittee’s investigation and potential

legislation on Internet sex trafficking.”), vacated as moot by 856 F.3d 1080 (D.C. Cir. 2017). If

the Court upholds the validity of the subpoena, the Committee fully expects Mazars to comply.

An order from the Court would therefore redress the Committee’s injury.

III.      The Committee Should Be Allowed to Intervene Permissively

          If the Court finds that the Committee does not satisfy the standard for intervention as of

right, it should permit the Committee to intervene under Rule 24(b). Under Rule 24(b)(1)(B),

“[o]n timely motion, the court may permit, anyone to intervene who . . . has a claim or defense

that shares with the main action a common question of law or fact.” The standard for permissive

intervention is easily satisfied here.



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       The Committee expeditiously moved to intervene and has a claim or defense that shares a

common question of law with the main action. In fact, the common question of law here is the

central legal question presented in this case: the validity and enforceability of the Committee’s

subpoena to Mazars, which the Committee will address in its forthcoming opposition to

plaintiffs’ motion for preliminary injunction. This common legal question—which strikes at the

core of the Committee’s investigative and legislative authority—justifies the Committee’s

permissive intervention.

       Finally, intervention will not “delay or prejudice the adjudication of the original parties’

rights.” Fed. R. Civ. P. 24(b)(3). As noted above, the Committee’s motion is timely and no

delays will result from the Committee’s intervention in this matter. The Committee’s

participation as intervenor-defendant will promote “the just, speedy, and inexpensive

determination” of this action. Fed. R. Civ. P. 1. For these reasons, if the Court does not grant

the Committee’s request for mandatory intervention, permissive intervention is appropriate.

                                         CONCLUSION

       For all the foregoing reasons, the Court should grant the Committee’s consent motion to

intervene.

                                              Respectfully submitted,


                                              /s/ Douglas N. Letter
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                                             Counsel for the Committee on Oversight and
                                             Reform of the U.S. House of Representatives

April 26, 2019




       *
          Attorneys for the Office of General Counsel for the U.S. House of Representatives are
“entitled, for the purpose of performing the counsel’s functions, to enter an appearance in any
proceeding before any court of the United States or of any State or political subdivision thereof
without compliance with any requirements for admission to practice before such court.” 2
U.S.C. § 5571.


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                                CERTIFICATE OF SERVICE

       I certify that on April 26, 2019, I caused the foregoing document to be filed via this

Court’s CM/ECF system, which I understand caused service on all registered parties. I further

certify that I served a copy of the foregoing document by email on counsel for defendant Mazars

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                                                     /s/ Douglas N. Letter
                                                     Douglas N. Letter
